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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                        CASE NO. 1:88-cr-01007-MP-AK-2

WILLIE BUD REED, JR,

       Defendant.

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                                         ORDER

       This matter is before the Court on Doc. 1411, Motion to Adopt Co-Defendant Rochell’s

Old Law Rule 35(a) by Willie Bud Reed, Jr. Defendant’s motion fails to adequately explain the

relief that is sought. Accordingly, defendant’s motion, Doc. 1411, is DENIED.


       DONE AND ORDERED this           29th day of August, 2011


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
